 Case 2:07-cr-20168-JWL           Document 1368       Filed 07/28/11   Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 07-20168
                                                  )
FRANKLIN GOODWIN, JR.,                            )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Franklin Goodwin, Jr. was convicted by a jury of conspiracy to

manufacture, possess with intent to distribute, and distribute cocaine, and of use of a

communication facility.     He received a mandatory minimum sentence of life

imprisonment on the conspiracy count and forty-eight months’ imprisonment on the

communication-device count to run concurrently. Mr. Goodwin filed a direct appeal, but

the Tenth Circuit affirmed his conviction and sentence. United States v. Goodwin, No.

09-3316, Doc. 01018646039 (10th Cir. May 24, 2011).

       Mr. Goodwin’s case is now before the court on his Motion for Leave of Court to

File Newly Discovered Evidence Under Rule 33 of the Federal Rules of Evidence, or in

the Alternative, a Motion to Correct the Judgment Pursuant to Rule 60(b) (doc. 1323).

For the reasons discussed below, that motion is denied.
 Case 2:07-cr-20168-JWL        Document 1368        Filed 07/28/11    Page 2 of 4




                                    DISCUSSION

       Under Federal Rule of Criminal Procedure 331, a defendant may file a motion for

a new trial based on newly discovered evidence. Fed. R. Crim. P. 33(b)(1). Such a

motion is not favorably regarded and should be granted only with great caution. United

States v. Trujillo, 136 F.3d 1388, 1394 (10th Cir. 1998). To succeed on a motion for

new trial based on newly discovered evidence, the movant must show that (1) the

evidence was discovered after trial; (2) the failure to discover the evidence was not

caused by defendant's lack of diligence; (3) the new evidence is not merely impeaching;

(4) the new evidence is material to the principal issues involved; and (5) the new

evidence would probably produce an acquittal in a new trial. United States v. Redcorn,

528 F.3d 727, 743 (10th Cir. 2008) (citation omitted).

       Here, the evidence Mr. Goodwin believes to be newly discovered relates to state

court convictions that affected his sentence in this case. Specifically, paragraph 204 of

the Presentence Investigation Report lists a 1999 conviction for possession of cocaine,

and adds three points to Mr. Goodwin’s criminal history points. The PSIR reports the

Leavenworth County District Court Case number as 9912CR779.

       Mr. Goodwin has submitted documents showing that the case number for that

conviction is incorrect. He has attached to his motion a letter from the Kansas


       1
         Mr. Goodwin’s motion references Rule 33 of the Federal Rules of Evidence, but
there is no such rule. The court presumes, judging from the content of Mr. Goodwin’s
motion, that he actually intends to cite Rule 33 of the Federal Rules of Criminal
Procedure.

                                           2
 Case 2:07-cr-20168-JWL        Document 1368          Filed 07/28/11   Page 3 of 4




Department of Corrections’ Sentence Computation Unit. The letter notes that KDOC

initially had case number 9912CR779 for the Leavenworth cocaine conviction, but that

it recently verified the correct case number to be 9911CR779. In light of this evidence,

Mr. Goodwin argues that the prior conviction listed in the PSIR never existed and thus

should not have factored into his criminal history.

       This evidence, however, cannot satisfy the standard set forth for Rule 33 motions.

It is not material to the principle issues involved in Mr. Goodwin’s trial—namely his

guilt in the charged offenses—nor would the evidence have likely produced an acquittal.

       Moreover, this clerical error does not affect the validity of the PSIR or the

sentencing process. The Government acknowledges that it must provide notice to a

defendant before using a prior conviction to enhance a sentence. 21 U.S.C. § 851. A

clerical error in such notice only renders the notice constitutionally deficient when “a

defendant suffers prejudice that deprives him of the notice and opportunity to challenge

a prior conviction that is subsequently used to enhance his sentence.” United States v.

Davis, 636 F.3d 1281, 1295 (10th Cir. 2011).

       Mr. Goodwin cannot claim, and indeed does not claim, that he suffered any

prejudice as a result of the clerical error. He was provided with information about the

date, location, and charge for that prior conviction In addition, he received a copy of

the state court journal entry regarding the conviction. Despite the clerical error, this

information was sufficient to provide him notice of which conviction the Government

intended to use for enhancement. See, e.g., United States v. Hood, 613 F.3d 1293, 1303-

                                           3
 Case 2:07-cr-20168-JWL        Document 1368      Filed 07/28/11    Page 4 of 4




04 (10th Cir. 2010).

       Moreover, Mr. Goodwin had the opportunity to challenge the conviction, and he

did so, though never because of the incorrect case number. See Davis, 636 F.3d at 1296.

Instead, Mr. Goodwin asserted that one of the convictions the Government sought to use

had been dismissed, but Mr. Goodwin’s attorney could find no documentation to support

that recollection. Mr. Goodwin also claimed that he was not the defendant in the prior

case, but after hearing testimony from the arresting officers, the court overruled that

objection.

       Thus, Mr. Goodwin did not suffer prejudice from the clerical error regarding his

prior convictions. His request for a new trial or to correct his judgment is therefore

denied.



       IT IS ORDERED BY THE COURT that defendant’s motion for leave to file

newly discovered evidence or to correct the judgment (doc. 1323) is denied.




       IT IS SO ORDERED this 28th day of July, 2011.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




                                          4
